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Lucas Wiggins

From:                           Lucas Wiggins
Sent:                           Monday, January 14, 2019 4:55 PM
To:                             sllewellyn@mofo.com; kpietari@mofo.com; mbirnbaum@mofo.com
Cc:                             John Chanin; Katie A. Roush
Subject:                        FPI v. Rota Fortunae
Attachments:                    RF's signed Responses (00657026xC1C96).PDF


Counsel, 
 
Please see attached Interrogatory Responses. 
 
Thank you, 
 
Lucas Wiggins 
 
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                                                                                                                                                                  EXHIBIT A
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